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                     EXHIBIT 6
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                     EXHIBIT 8
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  PROTECTIVE ORDER (D.I. 52)


                      Ryanair’s Responses to Written Questions for Ryanair

  Initial statement: Ryanair objects that these questions because they are neither necessary
  nor proper. Ryanair in no way accepts or admits the phrasing of the defendants’ questions
  or headings. Merely as an example, Ryanair in no way admits that any noticed questions
  went unanswered in previous depositions. As discussed in conferrals and expressed in
  correspondence, Ryanair has agreed to answer certain questions to avoid further
  unnecessary expenses. Ryanair incorporates its objections to both the previous Rule
  30(b)(6) deposition notices and defendants’ previously-served interrogatories.

                                                 ***

  Questions Related to Interrogatories Provided After Prior 30(b)(6) Deposition:

     1. In Ryanair’s Fourth Supplemental Response to Interrogatory No. 6, Ryanair added a table

         that purports to demonstrate

                                                       Identify the time period that the table covers,

         including beginning and end dates (e.g. Jan 1. 2023-Sept. 1, 2023).

  Response to Question 1:

         The table added in Ryanair’s Fourth Supplemental Response to Interrogatory No. 6 covers

  the period from July 24, 2023 to August 23, 2023.



     2. In Ryanair’s Second Supplemental Response to Interrogatory No. 15, Ryanair added a table

         that lists




             a. State whether the list is complete,



             b. If the list is not complete, please provide a complete list




                                                  1
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            c. If known, please state whether,



            d. State what year this data relates to.

            e. Identify who collected this data.

  Response to Question 2:

        a. The list contains



        b. The list is complete.

        c. This information is not known to Ryanair.

        d. This data relates to the year 2023.

        e. This data was collected by



     3. Describe how the test laid out in Ryanair’s Fourth Supplemental Response to Interrogatory

        No. 5 was conducted, including who conducted the test and when the test was conducted.

  Response to Question 3:

        The test laid out in Ryanair’s Fourth Supplemental Response to Interrogatory No. 5 was

  conducted by




                                                   2
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  PROTECTIVE ORDER (D.I. 52)


  Questions Unanswered from Sept. 29, 2023 Deposition

     1. Regarding Ryanair’s Third Supplemental Response to Interrogatory No. 2:

             a. State the general job functions and annual salaries of each of the employees listed

                in Ryanair’s Third Supplemental Response to Interrogatory No. 2, including




             b. Identify which contracting company or companies Ryanair uses to contract for



                                 from 2018 through August 2022.

             c. Identify the individual who calculated the numbers in the graph on page 30 of

                Ryanair’s Third Supplemental Responses to Defendants’ First Set of

                Interrogatories that purports to show



  Response to Question 1:

        a.




                                                 3
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       2. State the amount Ryanair paid

  Response to Question 2:



  Therefore, the requested information is not known to Ryanair and not accessible by Ryanair.

       3. State when Ryanair began working with

  Response to Question 3:

          Ryanair began using




       4. Regarding Exhibit 155 to the 9/29/2023 30(b)(6) deposition of John Hurley

              a. Identify whether Exhibit 155 relates to



              b. State what         stands for on Exhibit 155.

              c. State what the number            represents on the bottom of the third column on

                 Exhibit 155 at RYANAIR-BOOKING_0065418.

  Response to Question 4:

  a. Exhibit 155 relates to

  b.

  c. The number




                                                  6
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  PROTECTIVE ORDER (D.I. 52)


     5. Identify the number of Ryanair passengers that checked-in with Ryanair desk agents at

        airports between September 4, 2020 and April 15, 2023.

  Response to Question 5:

        Ryanair has already provided this information at RYANAIR-BOOKING_0080660.

     6. State the total that Ryanair has paid



  Response to Question 6:

        Ryanair has already provided this information at RYANAIR-BOOKING_0065290 -

  RYANAIR-BOOKING_0065318.




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                    EXHIBIT 10
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